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  7
      Confirmed Chapter 11 Liquidating Plan
  8

  9
                             UNITED STATES BANKRUPTCY COURT
 10

 11                           CENTRAL DISTRICT OF CALIFORNIA

 12                                           NORTHERN DIVISION
 13

 14    In re                                        )    Case No. 9:16-bk-11912-DS
                                                    )
 15    CHANNEL TECHNOLOGIES                         )    Chapter 11
       GROUP, LLC,                                  )
 16                                                 )    NOTICE OF ERRATA RE
                                 DEBTOR.            )    LIQUIDATING TRUSTEE’S
 17                                                 )    TWELFTH POST-CONFIRMATION
                                                    )    STATUS REPORT
 18                                                 )
                                                    )    [No Hearing Set]
 19

 20            PLEASE TAKE NOTICE that Liquidating Trustee corrects the last page of
 21   its Twelfth Post-Confirmation Status Report (Docket #813, filed 2-16-22) by
 22   inserting the missing word “time” as reflected on the attached corrected page.
 23   DATED: February 18, 2022.                         GRIFFITH & THORNBURGH, LLP
 24

 25                                                     By _____________________________
 26                                                      FELICITA A. TORRES
                                                         Attorneys for Liquidating Trustee
 27                                                      Appointed under Confirmed Ch. 11 Plan
 28
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  1   the claim pending further evaluation and negotiations.
  2         E.     The Liquidating Trustee’s Ability to Continue to Comply with
  3                the Terms of the Plan.
  4         The Liquidating Trustee projects that it will be able to continue to comply
  5   with the terms of the Plan.
  6         F.     Plan Consummation and Motion for Final Decree
  7         Now that all of the Litigation Claims filed in this case have been
  8   successfully resolved, the Liquidating Trustee is turning to a cost-benefit analysis
  9   of whether to pursue objections to disputed pending claims. The Liquidating
 10   Trustee expects that this thorough analysis will require devotion of significant
 11   time. For these reasons, the Liquidating Trustee is unable to provide an estimate
 12   as to the date by which the Plan will be fully consummated and by which the
 13   Liquidating Trustee will be able to seek a final decree closing this case.
 14

 15   DATED: February 16, 2022.
 16                                          GRIFFITH & THORNBURGH, LLP
 17

 18
                                             By _____________________________
 19                                           FELICITA A. TORRES
 20                                           Attorneys for Liquidating Trustee
                                              Appointed under Confirmed Ch. 11 Plan
 21

 22

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 28
                                              -9-
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In re: Channel Technologies Group, LLC
United States Bankruptcy Court, Case No. 9:16-bk-11912-DS
                                         PROOF OF SERVICE OF DOCUMENT
   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
   8 E. Figueroa Street, Suite 300, Santa Barbara, CA 93101
   A true and correct copy of the foregoing document entitled (specify):                       Notice of Errata re
   12th Post-Confirmation Status Report

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
Feb. 18, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On (date) Feb. 18, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)      , 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Feb. 18, 2022                  Evelyn R. Downs                                                 /s/Evelyn R. Downs
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 9:16-bk-11912-DS                     Doc 814 Filed 02/18/22 Entered 02/18/22 10:02:12                                      Desc
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In re: Channel Technologies Group, LLC
United States Bankruptcy Court, Case No. 9:16-bk-11912-DS

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In re: Channel Technologies Group, LLC
United States Bankruptcy Court, Case No. 9:16-bk-11912-DS

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